Case 1:18-cr-00509-RDB Document 1 Filed 10/04/18 Page 1 of 1

DEH/L]W USAO#ZUISROOGBS

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
§§
v. * Criminal No. g 9 E)~/g " @ 50?
:'r
CHANEL HOLLAND, * (Obstructing an Official
* Proceeding, 18 U.S.C. § 1512(c)(2))
Defendant *
1b
*'!n'n£"k%"k
INFORMATION

The United States Attorney for the District of Maryland charges:

COUNT 1
(Obstructing an Official Proceeding)

From at the latest April 12, 2018 through at least June ll, 2018, in the District of -

Maryland and elsewhere,
CHANEL HOLLANI),

the defendant herein, did corruptly obstruct, influence, and impede an official proceeding,
namely, an investigation of a federal grand jury empaneled by the United States District Court
for the District of Maryland in Baltimore, Maryland, and any criminal proceedings resulting
therefrom, in violation of 18 U.S.C. § l$lZ(c)(Z).
18 U.S.C. § 1512(0)(2).

M l< %z,/QEH

Robert K. Hur
United States Attorney

064?>[96/* q; ZOl'Z

Date

